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Proposed Attorneys for Debtors

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                                  )
    In re:                                                        ) Chapter 11
                                                                  )
    NATIONAL RIFLE ASSOCIATION OF                                 ) Case No. 21-30085 (HDH)
    AMERICA and SEA GIRT LLC 1                                    )
                                                                  )
                                    Debtors.                      ) Jointly Administered
                                                                  )

                                          NOTICE OF HEARING

             PLEASE TAKE NOTICE that a hearing on the Debtors’ Application for Entry of an Order

Pursuant to Section 327(e) of the Bankruptcy Code Authorizing the Retention and Employment of

Kirkland & Ellis LLP and Kirkland & Ellis International LLP as Special Litigation Counsel to the

Debtors and Debtors in Possession Effective as of January 15, 2021 [Docket No. 173] has been

scheduled for March 17, 2021, at 2:00 p.m. (prevailing Central Time) before the Honorable




1
      The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
      Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.



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Harlin D. Hale, United States Bankruptcy Judge for the Northern District of Texas, 1100

Commerce Street, 14th Floor, Courtroom #3, Dallas, Texas 75242.

          PLEASE TAKE FURTHER NOTICE that the hearing will be conducted by

videoconference and teleconference in Webex. The Webex hearing link will be posted to Judge

Hale’s Hearing and Dates and Calendar web page prior to the hearing and may be accessed from

the following link: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-haleshearing-

dates. Parties attending the hearing are requested to include their names on the Court’s electronic

sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located at the link

given above. Parties should also review, prior to the hearing, the Webex information attached

hereto.


 Dated: February 22, 2021                    /s/ Patrick J. Neligan, Jr.
                                             Patrick J. Neligan, Jr.
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 22nd day of February 2021, a true and correct

copy of the foregoing was served via first class U.S. on the parties named on the attached Master

Service List.

                                             /s/ Patrick J. Neligan, Jr.
                                             Patrick J. Neligan, Jr.
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                          In re: Sea Girt LLC - Case No. 21-30080
              In re: National Rifle Association of America - Case No. 21-30085

                                  MASTER SERVICE LIST

                                      Debtor/Debtor’s Counsel

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Fairfax, VA 22030

Sea Girt LLC
11250 Waples Mall Road
Fairfax, VA 22030

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                                           U.S. Trustee

Office of the United States Trustee
Attn: Lisa Young
Earle Cabell Federal Building
1100 Commerce Street, Room 976
Dallas, TX 75242

                                         Secured Creditors

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andrew.kalin@atlanticunionbank.com
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                              20 Largest Unsecured Creditors

 Ackerman McQueen, Inc.                         Membership Marketing Partners LLC
 1601 Northwest Expressway                      11250 Waples Mill Road, Suite 310
 Oklahoma City, OK 73118-1438                   Fairfax, VA 22030

 Gould Paper Corporation                        Infocision Management Corp.
 Attn: Warren Connor                            325 Springside Drive
 99 Park Avenue, 10th Floor                     Akron, OH 44333
 New York, NY 10016

 Under Wild Skies                               Valtim Incorporated
 c/o Dycio & Biggs                              P.O. Box 114
 10533 Main Street                              Forest, VA 24551
 Fairfax, VA 22030

 Quadgraphics                                   Communications Corp of America
 N63W23075 Hwy. 74                              Attn: Ken Bentley
 Sussex, WI 53089                               13129 Airpark Drive, Suite 120
                                                Elkwood, VA 22718

 Membership Advisors Public REL                 Salesforce.Com, Inc.
 11250 Waples Mill Road, Suite 310              One Mark St. – The Landmark, Suite 300
 Fairfax, VA 22030                              San Francisco, CA 94105

 Mercury Group                                  Speedway Motorsports, Inc.
 1601 NW Expressway, Suite 1100                 P.O. Box 600
 Oklahoma City, OK 73118                        Concord, NC 28026

 Image Direct Group LLC                         Google
 200 Monroe Avenue, Building 4                  1600 Amphitheatre Parkway
 Frederick, MD 21701                            Mountain View, CA 94043-1351




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 TMA Direct, Inc.                                  United Parcel Services
 12021 Sunset Hills Road, Suite 350                P.O. Box 7247-0244
 Manassas, VA 20109                                Philadelphia, PA 19170

 Membership Advisors Fund Raising                  Stone River Gear, LLC
 11250 Waples Mill Road, Suite 310                 P.O. Box 67
 Fairfax, VA 22030                                 Bethel, CT 06801

 Krueger Associates, Inc.                          CDW Computer Centers, Inc.
 105 Commerce Drive                                P.O. Box 75723
 Aston, PA 19014                                   Chicago, IL 60675


                                      Government Agencies

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